Case 5:21-cv-01848-JWH-KK Document 1 Filed 11/02/21 Page 1 of 6 Page ID #:1
Case 5:21-cv-01848-JWH-KK Document 1 Filed 11/02/21 Page 2 of 6 Page ID #:2
Case 5:21-cv-01848-JWH-KK Document 1 Filed 11/02/21 Page 3 of 6 Page ID #:3
Case 5:21-cv-01848-JWH-KK Document 1 Filed 11/02/21 Page 4 of 6 Page ID #:4
Case 5:21-cv-01848-JWH-KK Document 1 Filed 11/02/21 Page 5 of 6 Page ID #:5
Case 5:21-cv-01848-JWH-KK Document 1 Filed 11/02/21 Page 6 of 6 Page ID #:6
